                    Case: 1:24-cv-05963 Document #: 7 Filed: 08/14/24 Page 1 of 2 PageID #:122
                                                 CERTIFICATE OF SERVICE

UNITED STATES DISTRICT COURT                                                             Case #: 24-cv-05963
NORTHERN DISTRICT OF ILLINOIS


                                                     A and N Mortgage Services, Inc.
                                                                                                                      Plaintiff
                                                                   vs.

                                                          Bradley Boden, et al
                                                                                                                     Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was
a citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be
witness therein, and that I served copies of the:

  Summons & Verified Complaint for Injunctive Relief and Damages; Exhibit(s); Civil Cover Sheet; Rule 7.1 and Local
                                          Rule 3.2 Disclosure Statement


               PARTY SERVED:         BRADLEY BODEN
        METHOD OF SERVICE:           Personal Service - By personally delivering copies to BRADLEY BODEN
  DATE & TIME OF DELIVERY:           8/7/2024 at 6:18 PM
 ADDRESS, CITY AND STATE:            1816 N. FAIRFIELD AVE, CHICAGO, IL 60647
                 DESCRIPTION:        Race: White         Sex: Male          Age: 42
                                     Height: 5'9''       Weight: 180        Hair: Brown/Gray            Glasses: No



                                                                         I declare under penalties of perjury that the information contained
        Judicial Attorney Services, Inc.                                 herein is true and correct. Executed on 8/8/2024.
        PO Box 583
        Geneva, IL 60134
        (630) 221-9007




                                                                                                  Steven A. Stosur
                                                                                            Registration No: 117-001119




CLIENT: Benesch Friedlander Coplan & Aronoff LLP                                                                                  Job #: 582977
FILE #: 77243-3
                   Case: 1:24-cv-05963 Document #: 7 Filed: 08/14/24 Page 2 of 2 PageID #:123
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
A and N Mortgage Services, Inc.


                                                                 CASE NUMBER:       24-cv-05963
                                V.                               ASSIGNED JUDGE:
                                                                                    Jeffrey I Cummings
 Bradley Boden, CMG Mortgage, Inc., Select
 Lending Services, LLC, and Kristen                              DESIGNATED
 Cooney-McCarthy                                                 MAGISTRATE JUDGE: Young B. Kim


                    TO: (Name and address of Defendant)
       Bradley Boden
       1816 N. Fairfield Ave.
       Chicago, IL 60647



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 J. Scott Humphrey
                 Benesch, Friedlander, Coplan & Aronoff LLP
                 71 S. Wacker Drive
                 Suite 1600
                 Chicago, IL 60606
                 shumphrey@beneschlaw.com
                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




                          RK
     THOMAS G. BRUTON, CLERK

                                                                                      July 22, 2024

     (By) DEPUTY CLERK                                                                DATE
                                                                                      DAT
